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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MINNESOTA
                            Case No.: 0:21-cr-00174 (NEB/DTS)


United States of America,                             )
                                                      )
                               Plaintiff,             )      DEFENDANT’S SENTENCING
       v.                                             )      MEMORANDUM
                                                      )
William Howard Proto, Jr.,                            )
                               Defendant.             )
                                                      )


TO:    THE HONORABLE NANCY E. BRASEL, JUDGE OF MINNESOTA FEDERAL
       DISTRICT COURT; AND JOSEPH TEIRAB, ASSISTANT UNITED STATED
       ATTORNEY FOR THE PLAINTIFF UNITED STATES OF AMERICA.

                                         INTRODUCTION

       On August 11, 2021, a grand jury returned a two-count indictment against the defendant,

William Howard Proto, Jr. (“Proto”). In it, the grand jury supported the charges of: 1) possession

with intent to distribute 500 grams or more of a detectable amount of methamphetamine in

violation of 21 U.S.C. § 841(a)(1), (b)(1)(A); and 2) felon in possession of a firearm in violation

of 18 U.S.C. §§ 9229(g)(1), 924(a)(2).

       On December 22, 2021, a grand jury returned a five-count superseding indictment against

Proto. In it, the grand jury supported the charges of: 1) possession with intent to distribute 500

grams or more of a detectable amount of methamphetamine in violation of 21 U.S.C. §

841(a)(1), (b)(1)(A); 2) felon in possession of a firearm in violation of 18 U.S.C. §§ 9229(g)(1),

924(a)(2); 3) possession with intent to distribute 500 grams or more of a detectable amount of

methamphetamine in violation of 21 U.S.C. § 841(a)(1), (b)(1)(A); 4) felon in possession of a

firearm in violation of 18 U.S.C. §§ 9229(g)(1), 924(a)(2); and 5) possession of a firearm in

furtherance of drug trafficking in violation of 18 U.S.C. § 9249(c)(1)(A).


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         Proto tendered not guilty pleas to each count and demanded a jury trial. The district court

obliged and presided over a jury trial on June 10, 2022. Initially, Proto persisted in his not-guilty

pleas. But after the trial commenced, Proto relented on count four and elected to plead guilty.

After a three-day trial, a jury returned guilty verdicts for the balance of the charges.

         The Court ordered the preparation of a presentence investigation report (“PSR”) and

ordered the parties to appear for sentencing on November 15, 2022. U.S. Probation and Pre-trial

Services filed its PSR on August 2, 2022. The PSR identified that the guideline range for Proto’s

convictions is 360 months to life. Through this sentencing memorandum, Proto respectfully

requests this Court consider a variance from the Guidelines range identified through the PSR. As

grounds, Proto offers the following.

                                            ANALYSIS

    I.      PURSUANT TO 18 U.S.C. § 3553(a), A PRISON SENTENCE OF 216 TO 240
            MONTHS FOLLOWED BY FIVE YEARS OF SUPERVISED RELEASE
            CONSTITUTES A REASONABLE AND APPROPRIATE SENTENCE.1

            a. Standard Of Review.

         A variance of the Guidelines range is appropriate given the facts and circumstances

developed in Proto’s PSR. The Guidelines range is In United States v. Booker, 543 U.S. 220

(2005), the Supreme Court rendered the federal sentencing guidelines advisory on the district

courts. In Booker, the Court further held that judges are required to “take account of the Guidelines

together with the other sentencing facts,” and to “consider” the guidelines along with all other

requisite factors. Id. at 224 (emphasis added).




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 Proto recognizes that a three-year term of supervised release is the maximum allowable for
counts two and four.


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       The properly calculated Guideline range is the starting point and initial benchmark in all

sentencing proceedings. Gall v. United States, 552 U.S. 38, 49-50 (2007). In Gall, the Supreme

Court held that, after giving both parties an opportunity to argue for whatever sentence they deem

appropriate, the district court should then consider the factors enumerated by 18 U.S.C. § 3553(a).

The district court must weigh these factors to determine whether the support the sentence requested

by a party. In doing so, the district court may not presume the Guidelines range is reasonable.

Instead, the district court must make an “individualized assessment based on the facts presented.”

Id.

       18 U.S.C. § 3553(a) allows the district court to consider the particularized factors of the

entirety of Proto’s life—not just his criminal conduct. This approach is consistent with 28 U.S.C.

§ 991(b)(1)(B), which provides district courts with discretion to “maint[ain] sufficient flexibility

to permit individualized sentences when warranted by mitigating or aggravating factors not taken

into account in the establishment of general sentencing practices.” Weighing the factors of 18

U.S.C. § 3553(a) against the backdrop of the discretion afforded by 28 U.S.C. § 991(b)(1)(B)

supports a variance from the Guidelines range of 360 months-life to 216-240 months.

       Specifically, the circumstances of this case coupled with Proto’s history exemplify why the

Supreme Court restored a district court’s discretion “to consider every convicted person as an

Individual and every case as a unique study in the human failings that sometimes mitigate,

sometimes magnify, the crime and the punishment to ensue. Pepper v. United States, 131 S.Ct.

1229, 1239-40 (2011) (internal quotations and citations omitted). The following relevant factors

support why a 216-to-240-month range of incarceration is a punishment that is “sufficient, but not

greater than necessary, to accomplish the sentencing goals advanced.” Kimbrough v. United States,

552 U.S. 85, 111 (2007).




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           b. The Nature And Circumstances Of The Offense And The History And
              Characteristics Of The Defendant.

       The nature and circumstances surrounding Proto’s convictions speak for themselves. The

government convinced a jury that Proto possessed, with intent to distribute, over 500 grams of

methamphetamine on two separate occasions. The government also convicted a jury that Proto

possessed a firearm and for the benefit of drug trafficking. Proto does not dispute the severity of

the facts underlying his convictions. However, Proto points to a few mitigating circumstances.

First, as it relates to the first two counts of the indictment, law enforcement arrested Proto only

after minding his own business in the parking lot of a hotel. Aside from having methamphetamine

in the trunk of his vehicle, Proto was not selling drugs or engaged in drug-related activity. Second,

Proto did not have a firearm on her person or in his actual possession. For all intents and purposes,

luck catalyzed the first two counts of the indictment. If not for law enforcement conducting random

registration checks in the hotel parking lot, this Court may have never seen Proto. Third, Proto was

cooperative with law enforcement during his arrest. He neither assaulted nor threatened to assault

the officers during their investigation.

       As for the balance of the indictment, Proto understands the facts and circumstances

underlying his convictions are relatively unequivocal. As he did during the first investigation,

Proto was cooperative with law enforcement during his arrest. He did assault, threaten to assault,

or run away from the officer during their investigation.

       Unfortunately, Proto’s life is plagued with bad luck. Proto’s misfortune started when he

was born. Proto is the son of alcoholics and intravenous drug users. Proto’s first roles model, his

mother and father, impressed upon him an image of normality for drug and alcohol use. Even

though Proto’s father eventually achieved sobriety, he took that new life and left to marry another

woman. Proto’s mother soon filled that father role with a friend who was released from prison and



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needed a place to stay. This person, who ended up being Proto’s stepfather, physically and

emotionally abused Proto. To say that Proto’s formative years doomed him to fail as an adult is an

understatement.

       Proto’s involvement in the criminal justice started soon thereafter. Proto spent much of his

adult life incarcerated. To add insult to injury, Proto also experienced the death of multiple family

members. Proto never sought services to treat this trauma. Instead, he relied on the one thing that

his formative years taught him—use drugs to treatment pain. But as Proto’s friends and family

recognize, Proto is full of potential when he his clean. Proto’s wealth of support at home in the

community is an asset and protective factor to mitigate his overall risk. The attached letters from

Proto’s friends and family prove that.

       Perhaps the most indicative example of Proto’s strong moral character was his decision to

remain in Minnesota before his indictment. After his arrests, Proto was released from custody after

posting bail in state court. Proto strongly suspected that the federal government was interested in

indicting him, as the agents who arrested him included those from the Drug Enforcement

Administration. Even in light of this exposure, Proto remained stateside to face the music—a

decision that ultimately led to his extended incarceration.

       Proto is paradigm for someone set up for failure. He experienced numerous episodes of

trauma that remain professionally untreated. From an early age, Proto learned to manage the pain

by using drugs. This behavior is what ultimately led to his demise. Fortunately, through an

extended term of incarceration and treatment, Proto’s trauma can be treated and his criminal

thinking rehabilitated before integrating back into society. This need not take thirty years or a

lifetime to accomplish.




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           c. The Need For Sentence Imposed To Meet The Enumerated Objectives.

       Incarceration, while an important tool in our criminal justice system, is not the best—or

only—one. Proto does not dispute the seriousness of his offenses. But the conduct underlying

Proto’s convictions does not represent the most heinous way to commit the charged offenses. As

explained above, Proto was not combative with law enforcement. He complied with officers’

directives and did not attempt to flee them or the administration of justice.

       Proto also does not dispute that a long stint of incarceration is justified to accomplish the

objectives of 18 U.S.C. § 3553(a)(2)(A)-(D). But thirty years to life is too long. As stated in the

PSR, “[A] sentence below the advisory guideline range of imprisonment would remain a severe

graduated sanction and may still be sufficient to accomplish the goals of sentencing.” [Doc. No.

92 at 30]. A sentence of 216-240 months is not only more than sufficient amount of time to account

for Proto’s criminal conduct, it affords him more than enough time to complete all of the relevant

programming the Bureau of Prisons offers to its inmates in Proto’s position. As Proto’s brother

stated, Proto needs “intensive recovery and treatment, not some 30-day program.” [Id. at 20]. Proto

endorses this statement.

       Imposing an 18-20-year sentence sends a signal to the community that drug activity of this

magnitude will not be tolerated. More importantly, this sentence puts Proto over the age of 60 upon

release. This sufficiently protects the criminality of Proto’s lifestyle and stymies his ability to

return to the drug world after his release. Accordingly, the totality of the factors enumerated by 18

U.S.C. § 3553(a)(2)(A)-(D) support a sentence under 360 months to life.

           d. The Kinds Of Sentence And Sentencing Range.

       Proto concedes that the facts and circumstances of his convictions require the imposition




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of a lengthy prison sentence. Congress requires this Court to impose a sentence of at least fifteen

years based on the mandatory minimums prescribed by law. However, one reason for Proto’s

Guideline range is the draconian ten-fold disparity “between the thresholds for methamphetamine

mixture and actual methamphetamine.” [Id. at 30]. If not for this disparity, Proto would be assigned

a base level 34—not 38. This puts Proto at a Guidelines range of 235-293 months. Proto offers this

disparity to support of his request for a variance from his Guidelines range of 360 months-life.

Respectfully, a ten-year disparity seems particularly harsh based on a substance whose purity is

rarely anything other than “pure.”

                                         CONCLUSION

       The totality of the relevant factors enumerated by 18 U.S.C. § 3553(a) support the

conclusion that the Guidelines range of 360 months-life is unnecessarily harsh. Based on the

foregoing facts and analysis, Proto respectfully requests the imposition of a 216-month to 240-

month sentence. This represents a sentence sufficient, but not greater than necessary, to comply

with the purposes of the sentencing statute.



                                                             RESPECTFULLY SUBMITTED,

                                                             REPKA LAW, LLC



                                                             ________________________
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